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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH CAROLINA
                                       FLORENCE DIVISION

    Jonathan Lewis,                              )                         Case No.: 4:23-cv-01720-JD
                                                 )
                                                 )
                                      Plaintiff, )
                                                 )
                         v.                      )                       PLAINTIFF’S SUPPLEMENTAL
                                                 )                       RESPONSE IN OPPOSITION TO
    Circle K Stores, Inc., and John Doe,         )                          SUMMARY JUDGMENT
                                                 )
                                                 )
                                   Defendants. )

           Plaintiff Jonathan Lewis, by and through his undersigned counsel, hereby files this

Supplemental Response in Opposition to Defendant’s Motion for Summary Judgment pursuant to

the Court’s docket text order. See ECF No. 49.

                                                         FACTS

           Plaintiff incorporates the facts set forth in its memorandum in opposition to summary

judgment, ECF No. 43. Plaintiff sets forth the additional facts bearing on this supplemental brief.

           While exiting Defendant’s store, Mr. Lewis stepped on a wet painted parking lot stripe

covered in a cleaning agent. Stepping on the slick parking lot stripe caused Plaintiff’s foot to “slip

and roll” and tear his patellar tendon in his right knee from trying to catch himself to prevent from

falling. After attempting to catch himself, his leg buckled, he heard pops in his knee and then fell

to the ground. Lewis Dep. 30:14-16; 44:1-5; 44:17-22; 45:1-15; 46:18-21.1 The morning prior to

Mr. Lewis’s fall, he took his dog for a walk and a week prior to this incident, he was playing

basketball. Lewis Dep. 30:10-14; 31:14-16; 44:1-5; 81:10-25. Dr. Nathaniel Evans2 and Dr. Joseph



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    Plaintiff’s deposition transcript is attached hereto as Exhibit A.
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    Dr. Evans’ deposition transcript is attached hereto as Exhibit B.

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Calandra3 agree that the usual cause of a patellar tendon rupture is the forced extension of the leg

against a fixed flexion of the knee. Evans Dep.12:8-16; Calandra Dep.26:18-25; 27:1-2.

           As a cursory matter, Defendant’s initial argument for summary judgement was based on

whether medical testimony was necessary to determine “the exact mechanism of the fall,” a slip

or a trip,” and that there was no evidence Mr. Lewis slipped. See ECF No. 39 at p.10-11. Defendant

conceded Mr. Lewis ruptured his patellar tendon and that he fell. Defendant was arguing the nature

of how Mr. Lewis injured himself, a trip vs. slip, not the incident that ruptured his patellar tendon.

This was an attack on whether there was a dangerous condition on Defendant’s property. Now,

Defendant has pivoted from a mechanism argument to a different argument all together, one of

causation, that expert testimony is needed to support whether a slip can cause a patellar tendon

rupture. Such expert testimony is not required in this case, and if it is, Mr. Lewis’s treating surgeon

testified to this exact point; a slip is a cause of a patellar tendon rupture.

                                               LEGAL STANDARD

           “[W]hile the question of whether evidence is sufficient to survive summary judgment is

generally a matter of federal procedural law, ‘the “expert testimony” rule’ may be ‘so closely

interrelated with the substantive cause of action … that federal courts sitting in diversity cases

should apply the state rule in order to fully realize state substantive policy.’” In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litg., 227 F. Supp. 3d 452, 468 (D.S.C.

2017). Lay testimony regarding causation of a permanent injury presents a question for the jury.

See Joye v. Wiggins, 263 S.C. 334, 337–38 (1974); Where a plaintiff testifies about their ongoing

medical problems, the existence of a permanent injury is a question for the jury. See Vaughn v. City

of Anderson, 300 S.C. 55, 60 (Ct. App. 1989).


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    Dr. Calandra’s deposition transcript is attached hereto as Exhibit C.

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                                           ARGUMENT

I.     EXPERT MEDICAL TESTIMONY IS NOT REQUIRED TO ESTABLISH
       CAUSATION FOR MR. LEWIS’S ACUTE PATELLAR TENDON RUPTURE, AND
       EVEN IF THIS COURT FINDS EXPERT MEDICAL TESTIMONY TO BE
       REQUIRED, THERE IS SUFFICIENT TESTIMONY TO CREATE A GENUINE
       ISSUE OF MATERIAL FACT.

       a. Expert medical testimony is not required to establish causation for Mr. Lewis’s
          acute patellar tendon rupture.

       Expert testimony is not required to prove causation when there is an immediate onset of

symptoms that naturally follow from an accident or lack of any other possible cause. In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Pracs. & Prods. Liab. Litig., 227 F. Supp. 3d 452, 477 (D.S.C.

2017); see also Galloway v. Horne Concrete Const., 524 Fed. Appx. 865, 872 (4th Cir. 2013) (“a

plaintiff was not required to prove causation by expert evidence when she drank from a spigot and

developed chemical burns in her mouth immediately thereafter”); Dodge–Farrar v. Am. Cleaning

Servs. Co., 54 P.3d 954, 959 (Idaho Ct. App. 2002) (“[T]he causal relationship between [plaintiff's]

fall and her immediate symptoms in the ankle, knee and back (the pain, swelling, and the inability

to sit, stand or walk without assistance) is within the usual and ordinary experience of the average

person.”); Gambrell v. Burleson, 252 S.C. 98, 105-6 (1969) (If “a plaintiff in good health prior to

an injury begins to complain on the day of the injury with what he claims to be a condition resulting

from the injury, this fact alone may be sufficient evidence of causation.”).

       In Miller, the plaintiff purchased a Mountain Dew, consumed two or three sips of the drink

and immediately thereafter noticed the drink had a vile smell and taste. Miller v. Atl. Bottling Corp.,

259 S.C. 278, 280 (1972). Prior to drinking the Mountain Dew, Plaintiff was in good health, but

she immediately became sick upon drinking the beverage. Id. at 280. Although the plaintiff’s

treating physician did not opine on causation, the court held expert medical testimony was not



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required and stated, “a reasonable person would necessarily require medical testimony in order to

determine that the drinking and discovery of a foreign substance of the present nature in a bottled

drink most probably caused the nausea and vomiting which immediately followed.” Id. at 281–82.

       Instead, expert testimony is required when the causal relationship is not within the ken of

a reasonable juror—for example, to prove the effects of allegedly toxic chemicals on the human

body, medical malpractice cases, and the causation of dormant progressive diseases. In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Pracs. & Prods. Liab. Litig., 227 F. Supp. 3d 452, 478 (D.S.C.

2017). Consider Goewey, where the plaintiff’s theory of liability was an acute toxic exposure to

the organo-phosphate known as tri-ortho-cresyl phosphate, a compound which produces a delayed

toxic reaction; the court granted the defendant’s motion for summary judgment because the

plaintiff’s experts could not causally relate the injuries. Goewey v. United States, 886 F. Supp.

1268, 1282-83 (D.S.C. 1995). Likewise, in Gambrell, the plaintiff suffered injuries from an

automobile collision and claimed the collision aggravated or accelerated his preexisting cancer.

Gambrell, 252 S.C. at 100. Because no expert testimony linked the injuries from the collision to

aggravating or accelerating his cancer, the court held it was error to permit that testimony to go to

the jury. Id. at 107-08. Lastly, in Ellis, the estate of the deceased brought a medical malpractice

action against the Veterans Administration Hospital for permitting the deceased’s father, Mr. Ellis,

a psychiatric patient, to leave the facility which resulted in Mr. Ellis killing the deceased. Ellis v.

United States, 484 F. Supp. 5-6 (D.S.C. 1978). The record established Mr. Ellis was not a danger

to himself or others at the time he left the facility and plaintiff’s medical experts admitted the

Veterans Administration Hospital did not violate generally accepted practices by granting Mr. Ellis

a custody pass. Id. at 9-10. Thus, the court entered judgment for the defendant.




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           Here, like in Miller, expert medical testimony is not necessary to establish causation. This

case does not involve personal injury claims related to medical malpractice, toxic chemical

exposure, or preexisting cancer. Rather, like Miller, Mr. Lewis suffered an acute injury

immediately following a slip. Nothing indicates Mr. Lewis was suffering from a patellar tear

before the slip—on the morning of the incident, Mr. Lewis took his dog for a walk and a week

prior to this incident, he was playing basketball. Lewis Dep. 30:10-14; 31:14-16; 44:1-5; 81:10-

25. In support of its contention Plaintiff was “unhealthy” prior to his slip and fall, Defendant

misstates the record regarding Mr. Lewis’s medical history. Mr. Lewis did NOT have bilateral

patellar tendon repairs in 2020. Mr. Lewis did treat with Dr. Butler in 2020 for knee pain and

swelling, but for the LEFT knee, not the right. While exiting Defendant’s store, Mr. Lewis stepped

on a wet painted parking lot stripe which caused him to slip, tear his patellar tendon in his right

knee from trying to brace himself from the slip, and then fell. Lewis Dep. 30:14-16; 45:1-15. Mr.

Lewis testified his right foot slipped and rolled, his knee buckled, he heard a pop and then

immediately suffered from excruciating pain in his right leg. Lewis Dep. 30:14-16; 53:25. Mr.

Lewis explained his foot was visibly swollen immediately after the fall and on a scale of one to

ten, he rated his pain either a nine or a ten, making him unable to walk or move his leg without

assistance. Lewis Depo. 53:25; 54:1-5; 54:21-25; 55:1; 70:1-10. Defendant’s own employee, Mr.

Waples, who witnessed Mr. Lewis slip and fall, stated Mr. Lewis slipped on the painted parking

lot stripe. Waples Dep. 68:10-13; 69:9-17.4 Mr. Waples knew this because he could see Mr. Lewis’s

visible slip mark on the painted line. Waples Dep. 68:10-13.

           Therefore, when viewed in the light most favorable to Plaintiff, a reasonable jury could

find based upon the testimony of Mr. Lewis and other lay persons that Mr. Lewis’s patellar tendon


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    Mr. Waples’s deposition transcript is attached hereto as Exhibit D.

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rupture was most likely caused by slipping on the wet painted stripe due to Mr. Lewis’s daily

activities prior to his slip, the immediate pain Mr. Lewis felt in his leg after the slip, his

immediately noticeable visible injury and inability to walk or move his leg after the incident.

       b. Even if this Court finds expert medical testimony is required to establish
          causation, Dr. Evan’s testimony links Mr. Lewis’s slip to an acute patellar tendon
          rupture.

       Dr. Evans testified that an unexpected slip is a common cause of a ruptured patellar tendon.

Evans Dep. 12:8-20. Defendant’s own expert, Dr. Calandra, testified the usual cause of a healthy

ruptured patellar tendon is a forced extension of the knee against a fixed flexion of the knee.

Calandra Dep. 26:18-25; 27:1-2. This usual cause is the exact mechanism of how this incident

occurred. Mr. Lewis’s foot slipped and rolled on the chemical covered wet painted stripe, causing

a forced extension against a fixed flexion. While trying to brace himself, Mr. Lewis heard pops in

his knee and fell to the ground in extreme pain. Lewis Depo. 30:14-16; 45:1-15.

       When Mr. Lewis arrived to his first appointment at Dr. Evans’ office, a history of present

illness was completed which stated that he had an injury at a local gas station, slipped, had right

knee pain and felt a pop in his leg. Evans Dep. 9:1-8. Information contained within the history of

present illness is part of the information needed to make an appropriate diagnosis of the injury.

Evans Dep. 8:1-25. Dr. Evans diagnosed Mr. Lewis with a patellar tendon rupture and testified that

a patellar tendon rupture is almost exclusively an acute injury. Evans Dep. 11:10-25. When asked

whether Mr. Lewis’s injury was an acute event, Mr. Evans testified as follows:

       Q: Does the patellar tendon, for it to tear or rupture, does it require a pretty significant
       amount of –
       A: Yeah, and I think that’s what I’m indicating there is, that it would take a little – a decent
       bit of force to cause it to rupture.
       Q: Based on what we just talked about, about what would potentially cause a patellar
       tendon to rupture and the history or present illness given by Mr. Lewis, do you have an
       opinion as to whether or not Mr. Lewis’ patellar tendon was an acute event?


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       A: I think it was, yes.
       Q: Is hearing a pop when someone ruptures their patellar tendon, is that pretty common?
       A: Yeah, I think people feel some sort of sensation that something is torn or ruptured or
       something is not quite right.
       Q: Is there anything that you see in Mr. Lewis’ records or based on your history or training
       or education and your experiences, does this seem to be a situation where Mr. Lewis’
       patellar tendon just spontaneously gave out?
       A: No.

Evans Dep. 13:8-25; 14:1-8. Dr. Evans testified that patellar tendons do not tend to rupture

spontaneously. Evans Dep. 38:6-16. When further asked about the effects of a ruptured patellar

tendon, Dr. Evans explained a person is unable to do much of anything and cannot bend the knee

to get up or down. Evans Dep. 15:24-25; 16:1-9. As to the mechanism of the fall, Dr. Evans stated:

       Q: And would a person who maybe unexpectedly slips or their foot turns one way or their
       knee turns another way, is that a common cause of a ruptured patellar tendon?
              Mr. Holt: Objection, leading. Go ahead, Doctor.
       A: Yes, that would be a common mechanism, something where your knee bends quickly or
       unexpectedly.

Evans Dep. 12:8-16. Like Dr. Calandra, Dr. Evans testified the common mechanism or usual cause

of a patellar tendon rupture is a forced extension of the knee against a fixed flexion of the knee.

Evans Dep. 12:8-16; Calandra Dep. 26:18-25; 27:1-2. After Mr. Lewis’s foot slipped and rolled on

the wet chemical covered painted parking lot stripe, he braced his leg to stop himself from falling

resulting in his patellar tendon rupturing. This was an acute event and falls squarely within both

expert’s common mechanism or usual cause of a patellar tendon injury.

       When viewed in the light most favorable to Plaintiff, the evidence in this case creates a

genuine issue of material fact as to the causation of Mr. Lewis’s patellar tendon to rupture. Thus,

Defendant’s Motion for Summary Judgement must be denied because Defendant is not entitled to

judgment as a matter of law and questions of material facts exist.




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